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                      IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                     Case No. 2:19-cr-14 HCN

         Plaintiff,                             STATEMENT BY DEFENDANT IN
                                                ADVANCE OF PLEA OF GUILTY
         vs.                                    AND PLEA AGREEMENT PURSUANT
                                                TO FED. R. CRIM. P. 11(c)(1)(C)
  STONEY WESTMORELAND,

         Defendant.                             Hon. Howard C. Nielson


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
explaining, and entering into this agreement:

       1.     As part of this agreement with the United States, I intend to plead guilty to
Count 1 of the Felony Information. My attorney has explained the nature of the charge
against me, and I have had an opportunity to discuss the nature of the charge with my
attorney. I understand the charge and what the government is required to prove in order
to convict me. The elements of Count 1, Use of Interstate Facilities to Transmit
Information about a Minor, a violation of Title 18 U.S.C. § 2425:

       (1) That I used a facility of interstate commerce; specifically the internet;

       (2) That I knowingly initiated a transmission of the name or electronic mail
address of another individual, knowing that individual had not attained the age of 16
years; and

      (3) That I had the intent to entice, encourage, offer, or solicit any person, to
engage in sexual activity for which I could be charged with a criminal offense, or I
attempted to do so.
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        2.     I know that the maximum possible penalty provided by law for Count 1 of
the Felony Information, a violation of 18 U.S.C. § 2425, is a term of imprisonment of up
to five years, a fine of up to $250,000, a term of supervised release of not less than five
(5) years and up to life, and any applicable forfeiture. I understand that if I violate a term
or condition of supervised release, I can be returned to prison for the length of time
provided in 18 U.S.C. § 3583(e)(3).

           a. Additionally, I know the Court is required to impose an assessment in the
amount of $100 for each offense of conviction, pursuant to 18 U.S.C. § 3013. I know the
Court is required to impose an additional special assessment in the amount of $5,000 on
any non-indigent person convicted of an offense relating to the sexual exploitation of
children, pursuant to 18 U.S.C. § 3014. Furthermore, restitution to the victim of my
offense may be ordered pursuant to 18 U.S.C. § 3663.

            b. I understand that, if I am not a United States citizen, I may be removed
from the United States, denied citizenship, and denied admission to the United States in
the future.

        3.     I know that the sentencing procedures in this case and the ultimate sentence
will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
have discussed these procedures with my attorney. I also know that the final calculation
of my sentence by the Court may differ from any calculation the United States, my
attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.
However, because my plea of guilty is being entered pursuant to Rule 11(c)(1)(C), as
explained below, I know that I will be able to withdraw my plea if the Court does not
accept the terms of this agreement.

       4.     I know that I can be represented by an attorney at every stage of the
proceeding, and I know that if I cannot afford an attorney, one will be appointed to
represent me.

      5.     I know that I have a right to plead “Not Guilty” or maintain my earlier plea
of “Not Guilty” and can have a trial on the charges against me.

       6.       I know that I have a right to a trial by jury, and I know that if I stand trial
by a jury:

             a. I have a right to the assistance of counsel at every stage of the proceeding.

             b. I have a right to see and observe the witnesses who testify against me.

             c. My attorney can cross-examine all witnesses who testify against me.



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           d. I can call witnesses to testify at trial, and I can obtain subpoenas to require
the attendance and testimony of those witnesses. If I cannot afford to pay for the
appearance of a witness and mileage fees, the government will pay them.

              e. I cannot be forced to incriminate myself, and I do not have to testify at any
trial.

         f. If I do not want to testify, the jury will be told that no inference adverse to
me may be drawn from my election not to testify.

          g. The government must prove each and every element of the offense charged
against me beyond a reasonable doubt.

              h. It requires a unanimous verdict of a jury to convict me.

          i. If I were to be convicted, I could appeal, and if I could not afford to appeal,
the government would pay the costs of the appeal, including the services of appointed
counsel.

         7.      If I plead guilty, I will not have a trial of any kind.

        8.    I know that 18 U.S.C. § 3742(c)(1) sets forth the circumstances under
which I may appeal my sentence. However, fully understanding my right to appeal my
sentence, and in consideration of the concessions and/or commitments made by the
United States in this plea agreement, I knowingly, voluntarily and expressly waive my
right to appeal as set forth in paragraph 12 below.

       9.    I know that, under 18 U.S.C. § 3742(c)(2), the United States may only
appeal my sentence if it is less than the sentence set forth in this agreement.

       10.    I know that under a plea of guilty the judge may ask me questions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, if I give false answers, I can be prosecuted for
perjury.

      11.   I stipulate and agree that the following facts accurately describe my
conduct. These facts provide a basis for the Court to accept my guilty plea:

         On December 13, 2018, in the Central Division of the District of Utah, using a
         facility of interstate commerce, the internet, I knowingly transmitted the name of a
         minor across state lines in an attempt to induce, entice, encourage, offer or solicit
         any person, to engage in sexual activity for which I could be charged with a
         criminal offense. These actions were done in violation of 18 U.S.C. § 2425.



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      12.   The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

          a. Guilty Plea. I will plead guilty to Count 1 of the Felony Information, the
United States will move to dismiss the Indictment in this matter at the time of sentencing.

          b. Stipulated Sentence. Pursuant to Rule 11(c)(1)(C) of the Federal Rules of
Criminal Procedure, the sentence imposed by the Court will be a term of 0-24 months
imprisonment.

              (1)    I understand that this agreement, including my plea, the agreed upon
sentence, and all other terms referenced herein, are subject to the approval of, and
acceptance by the Court. I further understand that the Court will likely order the
preparation of a Presentence Report to assist in the determination of whether this plea and
the agreement are appropriate, and I agree to fully cooperate in the preparation of the
Presentence Report.

              (2)     If, after receiving all relevant information, the Court rejects the plea
agreement and determines that a sentence different from the agreed upon sentence of 24
months imprisonment will be imposed, I will have the right to withdraw the plea of guilty
and the terms of this agreement will become null and void.

           c. Relevant Conduct. I understand and agree that the Presentence Report
may include descriptions of conduct I engaged in which either was not charged against
me, will not be pleaded to by me, or both. I understand and agree that the Court will take
these facts into consideration in determining the reasonableness of the stipulated
sentence.

          d. Supervised Release. I understand that the United States will seek a lifetime
term of supervised release.

          e. Appeal Waiver.

                (1)    Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments made by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, except that I do
not waive the right to appeal as set forth in 18 U.S.C. § 3742(c)(1), which states that I
may not file a notice of appeal unless the sentence imposed is greater than the sentence
set forth in this agreement. I also knowingly, voluntarily, and expressly waive any
argument (1) that the statute(s) to which I am pleading guilty is/are unconstitutional or (2)
that my admitted conduct does not fall within the scope of the statute(s).



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               (2)    I also knowingly, voluntarily, and expressly waive my right to
challenge my sentence, unless the sentence imposed is greater than the sentence set forth
in this agreement, in any collateral review motion, writ or other procedure, including but
not limited to a motion brought under 28 U.S.C. § 2255, except on the issue of ineffective
assistance of counsel. This waiver includes any motion for modification of my sentence
under 18 U.S.C. § 3582(c)(2).

              (3)    I understand that this waiver of my appeal and collateral review
rights concerning my sentence shall not affect the government’s right to appeal my
sentence pursuant to 18 U.S.C. § 3742(c)(2) and § 3742(b)(1) and (2).

              (4)    I further understand and agree that the word “sentence” appearing
throughout this waiver provision is being used broadly and applies to all aspects of the
Court’s sentencing authority, including, but not limited to: (1) sentencing determinations;
(2) the imposition of imprisonment, fines, fees, supervised release, probation, and any
specific terms and conditions thereof; and (3) any orders of restitution.

           f. Presentence Report and Financial Information. I agree to provide
truthful and complete information, including financial information, as requested by the
probation office for the preparation of my presentence report and for determination of the
conditions of my supervised release. I also consent to allowing the United States
Attorney’s Office to run a credit check on me. I consent to being placed on the Treasury
Offset Program and State Finder.

       13.     Notice of Sex Offender Registration. I know that under the Sex Offender
Registration and Notification Act, a federal law, I must register and keep the registration
current in each of the following jurisdictions: the location of my residence, the location of
my employment; and, if I am a student, the location of my school. Registration will
require that I provide information that includes name, residence address, and the names
and addresses of any places at which I am or will be an employee or a student. I
understand that I must update my registrations not later than three business days after any
change of name, residence, employment, or student status. I understand that failure to
comply with these obligations subjects the defendant to prosecution for failure to register
under federal law, 18 U.S.C. ' 2250, which is punishable by a fine or imprisonment, or
both.

        14.     I understand and agree that this plea agreement is solely between me and
the United States Attorney for the District of Utah and does not bind any other federal,
state, or local prosecuting, administrative, or regulatory authorities.

      15.   I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

                                 *      *     *      *

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     I make the following representations to the Court:

     1.    I am ____                                          B.A.
                 51 years of age. My education consists of ___________________.
I ____________
    Can        [can/cannot] read and understand English.

      2.     This Statement in Advance contains all terms of the agreement between me
and the government; if there are exceptions, the Court will be specifically advised, on
the record, at the time of my guilty plea of the additional terms. I understand the
government and I cannot have terms of this plea agreement that are not disclosed to the
Court.

     3.     No one has made threats, promises, or representations to me that have
caused me to plead guilty, other than the provisions set forth in this agreement.

      4.    Neither my attorney nor the government has promised me that I would
receive probation or any other form of leniency because of my plea.

      5.    I have discussed this case and this plea with my lawyer as much as I wish,
and I have no additional questions.

     6.     I am satisfied with my lawyer.

      7.     My decision to enter this plea was made after full and careful thought; with
the advice of counsel; and with a full understanding of my rights, the facts and
circumstances of the case and the consequences of the plea. I was not under the
influence of any drugs, medication, or intoxicants when I made the decision to enter the
plea, and I am not now under the influence of any drugs, medication, or intoxicants.

     8.     I have no mental reservations concerning the plea.




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       9.     I understand and agree to all of the above. I know that I am free to change
 or delete anything contained in this statement. I do not wish to make changes to this
 agreement because I agree with the terms and all of the statements are correct.
                   30th           September
       DATED this ______ day of ________________, ____.
                                                   2021


                                                                     Digitally signed by Wendy Lewis
                                                                     DN: cn=Wendy Lewis, o=UTX, ou=FDO,
                                                                     email=wendy_lewis@fd.org, c=US
                                                                     Date: 2021.09.30 10:45:12 -06'00'

                                                 Stoney Westmoreland
                                                 Defendant



       I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his rights to him, and that I have assisted him in completing this written
agreement. I believe that he is knowingly and voluntarily entering the plea with full
knowledge of his legal rights and that there is a factual basis for the plea.

       DATED this ______
                     30thday of ________________,
                                   September      ____.
                                                    2021


                                                                        Digitally signed by Wendy Lewis
                                                                        DN: cn=Wendy Lewis, o=UTX, ou=FDO,
                                                                        email=wendy_lewis@fd.org, c=US
                                                                        Date: 2021.09.30 10:54:18 -06'00'

                                                 Wendy Lewis
                                                 Attorney for Defendant


      I represent that all terms of the plea agreement between the defendant and the
government have been, or will be at the plea hearing, disclosed to the Court, and there are
no undisclosed agreements between the defendant and the United States.
                                                            2021
       DATED this ______
                   30th day of ________________,
                                 September       ____.

                                                 ANDREA T. MARTINEZ
                                                 Acting United States Attorney
                                                                    Digitally signed by
                                                  KARIN             KARIN FOJTIK
                                                                    Date: 2021.09.30
                                                  FOJTIK            10:30:28 -06'00'
                                                 Karin Fojtik
                                                 Assistant United States Attorney


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